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                              UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

In re:                               )                Chapter 11
                                     )
GreenTech Automotive, Inc., et al.   )                Case No. 18-10651
                                     )
      Debtors.                       )                (Jt. Admin. Pending)
_____________________________________)

                 ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that, pursuant to Fed. R. Bankr. P. 9010(b), the undersigned

counsel hereby enters its appearance in this matter on behalf of a group of Chinese citizens who

are EB-5 investors (collectively the “EB-5 Group”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to Fed. R. Bankr. P. 2002, the

undersigned counsel hereby requests copies of all papers including, without limitation, all

motions, notices, applications, orders, reports, legal memoranda, exhibits and all other papers

which are filed with the court or served upon any party. All copies should be sent to the

undersigned counsel by email and/or by mail to the address appearing below.

         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and papers referred to in the United States Bankruptcy Code and the Federal Rules of

Bankruptcy Procedure, but also includes, without limitation, orders and notices of any petition,

pleading, complaint, hearing, application, motion, request or demand, whether formal or

informal, written or oral, or whether made by mail, email, hand delivery, telephone, telegraph,

facsimile, or otherwise which affect or seek to affect in any way the rights or interests of any

party in this matter.




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        PLEASE TAKE FURTHER NOTICE that this document shall not be deemed or

construed to be a waiver of any substantive or procedural rights of the EB-5 Group, including

without limitation, to: (a) require that where any adversary proceeding is to be initiated against

them in these or any related cases or where any proceeding is to be initiated by complaint against

them under applicable non-bankruptcy law, service shall be made on them in accordance with

applicable law and rules of procedure, and that service upon undersigned counsel is insufficient

for such purposes; (b) have final orders in non-core matters entered only after de novo review by

the district court; (c) a trial by jury in any proceeding so triable in these cases or any case,

controversy, or proceeding related to these cases; (d) have the district court withdraw the

reference in any matter subject to mandatory or discretionary withdrawal; or (e) any other rights,

claims, actions, defenses, setoffs, recoupments, etc. to which they are or may be entitled in law

or at equity, all of which rights, claims, actions, defenses, setoffs, recoupments, etc. are expressly

reserved.

                                                BLANK ROME LLP

                                                /s/ John Lucian
                                                John Lucian (VA Bar 43358)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on this 2nd day of March, 2018, the foregoing Entry of Appearance

and Request for Notices was served electronically by the Court’s CM/ECF system on all

subscribed parties.

                                                     /s/ John Lucian




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